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 8
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 9   UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR   2:24-cr-00205-HDV
13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             CASIE HYNES
14                    v.

15   CASIE HYNES,

16             Defendant.

17

18        1.   Subject to the approval of the United States Department of
19   Justice, Tax Division, this constitutes the plea agreement between
20   CASIE HYNES (“defendant”) and the United States Attorney’s Office for
21   the Central District of California (the “USAO”) in the investigation
22   of fraudulent applications for disaster loans authorized by the
23   Coronavirus Aid, Relief, and Economic Security (“CARES”) Act and
24   false claims to the Internal Revenue Service in seeking refunds of
25   the Employee Retention Credit enacted as a part of COVID relief in
26   the CARES Act.    This agreement is limited to the USAO and cannot bind
27   any other federal, state, local, or foreign prosecuting, enforcement,
28   administrative, or regulatory authorities.
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 1                             DEFENDANT’S OBLIGATIONS

 2        2.   Defendant agrees to:
 3             a.    Give up the right to indictment by a grand jury and,
 4   at the earliest opportunity requested by the USAO and provided by the
 5   Court, appear and plead guilty to a two-count information in the form
 6   attached to this agreement as Exhibit A or a substantially similar
 7   form, which charges defendant with wire fraud, in violation of 18
 8   U.S.C. § 1343, and false claims, in violation of 18 U.S.C. § 287.
 9             b.    Not contest facts agreed to in this agreement.
10             c.    Abide by all agreements regarding sentencing contained
11   in this agreement.
12             d.    Appear for all court appearances, surrender as ordered
13   for service of sentence, obey all conditions of any bond, and obey
14   any other ongoing court order in this matter.
15             e.    Not commit any crime; however, offenses that would be
16   excluded for sentencing purposes under United States Sentencing
17   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
18   within the scope of this agreement.
19             f.    Be truthful at all times with the United States
20   Probation and Pretrial Services Office and the Court.
21             g.    Pay the applicable special assessments at or before
22   the time of sentencing unless defendant has demonstrated a lack of
23   ability to pay such assessments.
24             h.    Defendant agrees that any and all criminal debt
25   ordered by the Court will be due in full and immediately.           The
26   government is not precluded from pursuing, in excess of any payment
27   schedule set by the Court, any and all available remedies by which to
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 1   satisfy defendant’s payment of the full financial obligation,

 2   including referral to the Treasury Offset Program.

 3             i.    Complete the Financial Disclosure Statement on a form

 4   provided by the USAO and, within 30 days of defendant’s entry of a

 5   guilty plea, deliver the signed and dated statement, along with all

 6   of the documents requested therein, to the USAO by either email at

 7   usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

 8   Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

 9   Angeles, CA 90012.    Defendant agrees that defendant’s ability to pay

10   criminal debt shall be assessed based on the completed Financial

11   Disclosure Statement and all required supporting documents, as well

12   as other relevant information relating to ability to pay.

13             j.    Authorize the USAO to obtain a credit report upon

14   returning a signed copy of this plea agreement.

15             k.    Consent to the USAO inspecting and copying all of

16   defendant’s financial documents and financial information held by the

17   United States Probation and Pretrial Services Office.

18        3.   Defendant further agrees:

19             a.    To forfeit all right, title, and interest in and to

20   any and all monies, properties, and/or assets of any kind, derived

21   from or acquired as a result of the illegal activity to which

22   defendant is pleading guilty, specifically including, but not limited

23   to $120,925.10 seized on or about May 24, 2023, from Bluevine

24   checking account ending in 5915, held in the name of Joseph Little

25   Consulting, Joseph Little (collectively, the “Forfeitable Property”).

26             b.    To the Court’s entry of an order of forfeiture at or

27   before sentencing with respect to the Forfeitable Property and to the

28   forfeiture of the property.

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 1             c.    To take whatever steps are necessary to pass to the

 2   United States clear title to the Forfeitable Property, including,

 3   without limitation, the execution of a consent decree of forfeiture

 4   and the completing of any other legal documents required for the

 5   transfer of title to the United States.

 6             d.    Not to contest any administrative forfeiture

 7   proceedings or civil judicial proceedings commenced against the

 8   Forfeitable Property.    If defendant submitted a claim and/or petition

 9   for remission for all or part of the Forfeitable Property on behalf

10   of herself or any other individual or entity, defendant shall and

11   hereby does withdraw any such claims or petitions, and further agrees

12   to waive any right she may have to seek remission or mitigation of

13   the forfeiture of the Forfeitable Property.

14             e.    Not to assist any other individual in any effort

15   falsely to contest the forfeiture of the Forfeitable Property.

16             f.    Not to claim that reasonable cause to seize the

17   Forfeitable Property was lacking.

18             g.    To prevent the transfer, sale, destruction, or loss of

19   any and all assets described above to the extent defendant has the

20   ability to do so.

21             h.    That forfeiture of Forfeitable Property shall not be

22   counted toward satisfaction of any special assessment, fine,

23   restitution, costs, or other penalty the Court may impose.

24             i.    The parties further agree that, pursuant to the Asset

25   Forfeiture Policy Manual (2021), Chapter 14, Sec. II.B.2 and 28

26   C.F.R. Part 9.8, upon a determination by the government that it can

27   make the required representations set forth therein, and if requested

28   by defendant, the government will submit a restoration request to the

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 1   Money Laundering and Asset Recovery Section of the Department of

 2   Justice, seeking approval for any assets forfeited to be restored

 3   to the victims in this case, which may, in turn, satisfy in full or

 4   part any restitution order. Defendant has acknowledged that the

 5   Attorney General, or his designee, has the sole discretion to approve

 6   or deny the restoration request.

 7             j.    With respect to any criminal forfeiture ordered as a

 8   result of this plea agreement, defendant waives: (1) the requirements

 9   of Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

10   notice of the forfeiture in the charging instrument, announcements of

11   the forfeiture sentencing, and incorporation of the forfeiture in the

12   judgment; (2) all constitutional and statutory challenges to the

13   forfeiture (including by direct appeal, habeas corpus or any other

14   means); and (3) all constitutional, legal, and equitable defenses to

15   the forfeiture of the Forfeitable Property in any proceeding on any

16   grounds including, without limitation, that the forfeiture

17   constitutes an excessive fine or punishment.        Defendant acknowledges

18   that forfeiture of the Forfeitable Property is part of the sentence

19   that may be imposed in this case and waives any failure by the Court

20   to advise defendant of this, pursuant to Federal Rule of Criminal

21   Procedure 11(b)(1)(J), at the time the Court accepts defendant’s

22   guilty plea.

23             Defendant agrees to cooperate with the Internal Revenue
24   Service in the determination of defendant’s tax liability for 2021
25   and 2022. Defendant agrees that:
26             a.    Defendant will file, prior to the time of sentencing,
27   amended returns for the years subject to the above admissions,
28   correctly reporting income and correcting improper deductions and

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 1   credits; will, if requested to do so by the Internal Revenue Service,

 2   provide the Internal Revenue Service with information regarding the

 3   years covered by the returns; will pay to the Fiscal Clerk of the

 4   Court at or before sentencing all additional taxes and all penalties

 5   and interest assessed by the Internal Revenue Service on the basis of

 6   the returns; and will promptly pay to the Fiscal Clerk of the Court

 7   all additional taxes and all penalties and interest thereafter

 8   determined by the Internal Revenue Service to be owing as a result of

 9   any computational error(s).     Payments may be made to the Clerk,

10   United States District Court, Fiscal Department, 255 East Temple

11   Street, Room 1178, Los Angeles, California 90012.

12                b.   Nothing in this agreement forecloses or limits the

13   ability of the Internal Revenue Service to examine and make

14   adjustments to defendant’s returns after they are filed.

15                c.   Defendant will not, after filing the returns, file any

16   claim for refund of taxes, penalties, or interest for amounts

17   attributable to the returns filed in connection with this plea

18   agreement.

19                d.   Defendant gives up any and all objections that could

20   be asserted to the Examination Division of the Internal Revenue

21   Service receiving materials or information obtained during the

22   criminal investigation of this matter, including materials and

23   information obtained through grand jury subpoenas.

24                             THE USAO’S OBLIGATIONS

25        5.      The USAO agrees to:
26                a.   Not contest facts agreed to in this agreement.
27                b.   Abide by all agreements regarding sentencing contained
28   in this agreement.
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 1               c.   At the time of sentencing, provided that defendant

 2   demonstrates an acceptance of responsibility for the offenses up to

 3   and including the time of sentencing, recommend a two-level reduction

 4   in the applicable Sentencing Guidelines offense level, pursuant to

 5   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

 6   additional one-level reduction if available under that section.

 7               d.   Except for criminal tax violations (including

 8   conspiracy to commit such violations chargeable under 18 U.S.C.

 9   § 371), not further criminally prosecute defendant for violations of

10   bank fraud, in violation of 18 U.S.C. § 1344; aggravated identity

11   theft, in violation of 18 U.S.C. § 1028A; and money laundering, in

12   violation of 18 U.S.C. §§ 1956 and 1957, arising out of defendant’s

13   conduct described in the agreed-to factual basis set forth in

14   paragraph 15 below.    Defendant understands that the USAO is free to

15   criminally prosecute defendant for any other unlawful past conduct or

16   any unlawful conduct that occurs after the date of this agreement.

17   Defendant agrees that at the time of sentencing the Court may

18   consider the uncharged conduct in determining the applicable

19   Sentencing Guidelines range, the propriety and extent of any

20   departure from that range, and the sentence to be imposed after

21   consideration of the Sentencing Guidelines and all other relevant

22   factors under 18 U.S.C. § 3553(a).

23               e.   Recommend that defendant be sentenced to a term of

24   imprisonment no higher than the low end of the applicable Sentencing

25   Guidelines range, provided that the offense level used by the Court

26   to determine that range is 28 or higher and provided that the Court

27   does not depart downward in offense level or criminal history

28   category.   For purposes of this agreement, the low end of the

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 1   Sentencing Guidelines range is that defined by the Sentencing Table

 2   in U.S.S.G. Chapter 5, Part A.

 3                             NATURE OF THE OFFENSES

 4        6.   Defendant understands that for defendant to be guilty of
 5   the crime charged in count one, that is, wire fraud, in violation of
 6   Title 18, United States Code, Section 1343, the following must be
 7   true: (1) defendant knowingly devised or participated in a scheme or
 8   plan to defraud, or a scheme to obtain money or property by means of
 9   false and fraudulent pretenses, representations, promises, or omitted
10   facts; (2) the statements made or facts omitted were material; (3)
11   the defendant acted with the intent to defraud, that is, the intent
12   to deceive and cheat; and (4) the person used or caused to be used an
13   interstate wire communication to carry out or attempt to carry out an
14   essential part of the scheme.
15        7.   Defendant understands that for defendant to be guilty of
16   the crime charged in count two, that is, false claims, in violation
17   of Title 18, United States Code, Section 287, the following must be
18   true: (1) defendant made or presented a false, fictitious, or
19   fraudulent claim to a department of the United States; (2) defendant
20   knew such claim was false, fictitious, or fraudulent; and (3)
21   defendant did so with the specific intent to violate the law or with
22   a consciousness that what she was doing was wrong.
23                           PENALTIES AND RESTITUTION
24        8.   Defendant understands that the statutory maximum sentence
25   that the Court can impose for a violation of Title 18, United States
26   Code, Section 1343, is: 20 years’ imprisonment; a three-year period
27   of supervised release; a fine of $250,000 or twice the gross gain or
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 1   gross loss resulting from the offense, whichever is greatest; and a

 2   mandatory special assessment of $100.

 3        9.    Defendant understands that the statutory maximum sentence

 4   that the Court can impose for a violation of Title 18, United States

 5   Code, Section 287, is: 5 years’ imprisonment; a three-year period of

 6   supervised release; a fine of $250,000 or twice the gross gain or

 7   gross loss resulting from the offense, whichever is greatest; and a

 8   mandatory special assessment of $100.

 9        10.   Defendant understands, therefore, that the total maximum

10   sentence for all offenses to which defendant is pleading guilty is:

11   25 years’ imprisonment; a three-year period of supervised release; a

12   fine of $500,000 or twice the gross gain or gross loss resulting from

13   the offenses, whichever is greatest; and a mandatory special

14   assessment of $200.

15        11.   Defendant understands that defendant will be required to

16   pay full restitution to the victim(s) of the offenses to which

17   defendant is pleading guilty.      Defendant agrees that, in return for

18   the USAO’s compliance with its obligations under this agreement, the

19   Court may order restitution to persons other than the victim(s) of

20   the offenses to which defendant is pleading guilty and in amounts

21   greater than those alleged in the counts to which defendant is

22   pleading guilty.   In particular, defendant agrees that the Court may

23   order restitution to any victim of any of the following for any

24   losses suffered by that victim as a result: (a) any relevant conduct,

25   as defined in U.S.S.G. § 1B1.3, in connection with the offenses to

26   which defendant is pleading guilty; and (b) any charges not

27   prosecuted pursuant to this agreement as well as all relevant

28   conduct, as defined in U.S.S.G. § 1B1.3, in connection with those

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 1   charges.   The parties currently believe that the applicable amount of

 2   restitution is approximately $2,255,244, but recognize and agree that

 3   this amount could change based on facts that come to the attention of

 4   the parties prior to sentencing.

 5        12.   Defendant understands that supervised release is a period

 6   of time following imprisonment during which defendant will be subject

 7   to various restrictions and requirements.        Defendant understands that

 8   if defendant violates one or more of the conditions of any supervised

 9   release imposed, defendant may be returned to prison for all or part

10   of the term of supervised release authorized by statute for the

11   offense that resulted in the term of supervised release, which could

12   result in defendant serving a total term of imprisonment greater than

13   the statutory maximum stated above.

14        13.   Defendant understands that, by pleading guilty, defendant

15   may be giving up valuable government benefits and valuable civic

16   rights, such as the right to vote, the right to possess a firearm,

17   the right to hold office, and the right to serve on a jury.

18   Defendant understands that she is pleading guilty to felonies and

19   that it is a federal crime for a convicted felon to possess a firearm

20   or ammunition.    Defendant understands that the convictions in this

21   case may also subject defendant to various other collateral

22   consequences, including but not limited to revocation of probation,

23   parole, or supervised release in another case and suspension or

24   revocation of a professional license.        Defendant understands that

25   unanticipated collateral consequences will not serve as grounds to

26   withdraw defendant’s guilty pleas.

27        14.   Defendant and her counsel have discussed the fact that, and

28   defendant understands that, if defendant is not a United States

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 1   citizen, the convictions in this case make it practically inevitable

 2   and a virtual certainty that defendant will be removed or deported

 3   from the United States.     Defendant may also be denied United States

 4   citizenship and admission to the United States in the future.

 5   Defendant understands that while there may be arguments that

 6   defendant can raise in immigration proceedings to avoid or delay

 7   removal, removal is presumptively mandatory and a virtual certainty

 8   in this case.   Defendant further understands that removal and

 9   immigration consequences are the subject of a separate proceeding and

10   that no one, including her attorney or the Court, can predict to an

11   absolute certainty the effect of her convictions on her immigration

12   status.    Defendant nevertheless affirms that she wants to plead

13   guilty regardless of any immigration consequences that her pleas may

14   entail, even if the consequence is automatic removal from the United

15   States.

16                                   FACTUAL BASIS

17        15.    Defendant admits that defendant is, in fact, guilty of the
18   offenses to which defendant is agreeing to plead guilty.           Defendant
19   and the USAO agree to the statement of facts provided below and agree
20   that this statement of facts is sufficient to support pleas of guilty
21   to the charges described in this agreement and to establish the
22   Sentencing Guidelines factors set forth in paragraph 17 below but is
23   not meant to be a complete recitation of all facts relevant to the
24   underlying criminal conduct or all facts known to either party that
25   relate to that conduct.
26                            PPP and EIDL Fraud Scheme
27        Beginning in or around June 2020 and continuing through at least
28   in or around December 2021, in Los Angeles County, within the Central
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 1   District of California, defendant knowingly and with intent to

 2   defraud executed a scheme to obtain money from various financial

 3   institutions and the United States Small Business Administration

 4   (“SBA”) through fraudulent applications for loans through the

 5   Paycheck Protection Program (“PPP”) and the Economic Injury Disaster

 6   Loan (“EIDL”) program, programs designed to provide relief from the

 7   government to small businesses to assist during the COVID-19

 8   pandemic.

 9        Between 2020 and 2021, defendant requested employer

10   identification numbers for (and in some instances incorporated with

11   the California Secretary of State) approximately 20 entities,

12   including entities associated with a t-shirt business that she and

13   two associates owned and operated (Nasty Womxn Project and She Suite

14   Collective) and entities purportedly associated with J.L., C.H.,

15   S.S., M.W., and others, but which defendant knew were not actually

16   affiliated with those individuals (such as JL Education, Casie Hynes

17   Consulting, College Club, She Suite Ventures, and NW Project).

18        Between June 2020 and December 2021, defendant submitted and

19   caused to be submitted at least 23 fraudulent PPP loan applications

20   to various federally insured financial institutions (the “PPP

21   Lenders”) and at least 59 fraudulent EIDL applications to the SBA in

22   the names of both existing and newly created entities, which

23   applications were transmitted via interstate wire to servers

24   associated with the PPP and EIDL program located outside of

25   California.   On those applications, defendant at times used the

26   personal information and signatures of J.L., C.H., S.S., M.W., and

27   others, without their authorization.       In the applications, defendant

28   also made false statements, including providing false information as

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 1   to the purported number of employees and average monthly payroll and

 2   the purported ownership and control of the entities.          Defendant

 3   typically also submitted fabricated tax documents and bank statements

 4   in support of the PPP and EIDL applications.         Defendant made these

 5   false statements and included fraudulent supporting documentation

 6   knowing and intending that the PPP Lenders and SBA would rely upon

 7   the false statements and fraudulent supporting documentation, which

 8   were material to the PPP Lenders and SBA as they determined whether

 9   to approve the loans and the amount of any approved loans.

10        In order to execute the scheme to defraud and obtain money and

11   property from the PPP Lenders and SBA, on or about April 14, 2021,

12   defendant electronically submitted to American Lending Center (“ALC”)

13   an application on behalf of JL Education seeking a PPP loan in the

14   amount of $416,666.67, which application was transmitted via

15   interstate wire to a server located outside of California.           In the

16   application, defendant falsely stated that JL Education was wholly

17   owned by J.L., had 20 employees as of December 31, 2020, and had an

18   average monthly payroll of $166,666.67.        In fact, as defendant knew,

19   J.L. did not own JL Education, and the company did not have the

20   employees or average monthly payroll stated.         Defendant also used

21   J.L.’s electronic signature to sign the application without J.L.’s

22   knowledge or permission.     In support of JL Education’s PPP loan

23   application, defendant submitted, among other things, a fabricated

24   February 2020 bank account purportedly for JL Education, a fabricated

25   2019 Form 1120 federal corporate tax return for JL Education, and a

26   fraudulent 2019 payroll summary report of JL Education employees

27   showing wages earned, even though defendant knew those employees did

28   not work for JL Education or receive those wages from it.           Defendant

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 1   submitted this false and fraudulent information knowing and intending

 2   that ALC would rely on it in approving the loan.

 3        In reliance on the fraudulent loan applications defendant

 4   submitted and the false statements and fabricated documents therein,

 5   the PPP Lenders and the SBA approved PPP and EIDL loans for various

 6   of the entities defendant created.        The PPP Lenders and SBA disbursed

 7   proceeds from these loans into entity accounts controlled by

 8   defendant, many of which loan proceeds were subsequently transferred

 9   to other accounts controlled by defendant and/or used for defendant’s

10   personal expenses.

11        Defendant admits that the intended loss related to defendant’s

12   fraudulent PPP and EIDL loan scheme is approximately $3,174,323, and

13   that she received approximately $2,255,244 in fraudulent proceeds

14   from those loans.    Defendant further admits that she caused losses to

15   more than 10 victims and obtained more than $1 million in gross

16   receipts from one or more financial institutions through this scheme.

17                                    False Claims

18        Defendant also used some of the same companies discussed above
19   to submit tax forms to the Internal Revenue Service (“IRS”)
20   requesting refunds.     Following the outbreak of COVID-19, Congress
21   enacted statues authorizing the IRS to reduce the employment tax
22   burdens of small businesses and reimburse those businesses for wages
23   paid to employees who were on sick or family leave and could not work
24   because of the pandemic.     For tax periods in 2020 and 2021, the IRS
25   offered the Employee Retention Credit (“ERC”) and paid sick and
26   family leave credit (collectively, the “COVID-19 Tax Credits”) to
27   businesses that were significantly impacted by the pandemic.
28

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 1        Between in or around May 2021 and in or around April 2022,

 2   defendant caused to be submitted tax forms – namely, Advance Payment

 3   of Employer Credits due to COVID-19 (“Form 7200”), Employer’s

 4   Quarterly Federal Tax Returns (“Form 941”), and United States

 5   Corporation Income Tax Returns (“Form 1120”) – on behalf of She Suite

 6   Ventures; Nasty Womxn Project LLC; and Casie Hynes Consulting

 7   (collectively, the “False Returns”), seeking refunds based on false

 8   statements, including fraudulently claimed COVID-19 Tax Credits:

 9   BUSINESS NAME          EIN           FORM   YEAR /  DATE      REFUND
                                                 QUARTER RECEIVED  REQUESTED
10   She Suite Ventures     XX-XXXXXXX    941    2020/2  5/11/2021 $104,399.59
11   She Suite Ventures     XX-XXXXXXX    7200   2020/3    6/26/2021 $104,399.59
12   She Suite Ventures     XX-XXXXXXX    7200   2020/4    6/26/2021 $104,399.59
13   She Suite Ventures     XX-XXXXXXX    941    2021/1    5/11/2021 $166,557.99
14
     She Suite Ventures     XX-XXXXXXX    7200   2021/2    7/13/2021 $195,911.41
15
     She Suite Ventures     XX-XXXXXXX    7200   2021/3    7/13/2021 $195,911.41
16
     She Suite Ventures     XX-XXXXXXX    7200   2021/4    7/13/2021 $195,911.41
17
     Nasty Womxn            XX-XXXXXXX    1120   2020      8/23/2021 $42,507.00
18   Project LLC
     Nasty Womxn            XX-XXXXXXX    941    2021/1    6/26/2021 $36,041.83
19   Project LLC
     Nasty Womxn            XX-XXXXXXX    7200   2021/2    6/26/2021 $36,041.83
20   Project LLC
21   Nasty Womxn            XX-XXXXXXX    7200   2021/3    6/26/2021 $36,041.83
     Project LLC
22   Casie Hynes            XX-XXXXXXX    1120   2020/4    4/19/2022 $37,580.00
     Consulting
23

24        In fact, as defendant knew, these entities had little to no
25   substantial business operations in 2020 and 2021, and did not have
26   the number of employees claimed, pay the quarterly wages claimed for
27   those employees, or make the federal tax deposits claimed.           In the
28   cases of Nasty Womxn Project LLC and Casie Hynes Consulting,
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 1   defendant also knew that those entities did not have the gross

 2   receipts she reported on their Form 1120s.

 3           For example, on or about July 13, 2021, defendant caused a Form

 4   7200 to be filed on behalf of She Suite Ventures for the fourth

 5   quarter of 2021, requesting $195,911.41 as an advance payment of

 6   COVID-19 Tax Credits.     In the form, defendant falsely claimed that

 7   She Suite Ventures had 20 employees and stated that She Suite

 8   Ventures had reported $530,108.00 in wages, tips, and other

 9   compensation paid on its most recent Form 941 from the first quarter

10   of 2021.      Defendant made these statements (1) knowing that She Suite

11   Ventures did not have that many employees or pay employees the

12   reported amount in wages, tips, and other compensation, and (2) with

13   the specific intent to violate the law and a consciousness that what

14   she was doing was wrong.

15           Defendant admits that she made knowing and willful false

16   statements on the False Returns that she caused to be submitted to

17   the IRS, and sought approximately $1,255,703 in COVID-19 Tax Credits

18   and tax refunds through those False Returns, none of which the IRS

19   paid.

20                                SENTENCING FACTORS

21           16.   Defendant understands that in determining defendant’s
22   sentence the Court is required to calculate the applicable Sentencing
23   Guidelines range and to consider that range, possible departures
24   under the Sentencing Guidelines, and the other sentencing factors set
25   forth in 18 U.S.C. § 3553(a).      Defendant understands that the
26   Sentencing Guidelines are advisory only, that defendant cannot have
27   any expectation of receiving a sentence within the calculated
28   Sentencing Guidelines range, and that after considering the
                                          16
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 1   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 2   be free to exercise its discretion to impose any sentence it finds

 3   appropriate up to the maximum set by statute for the crimes of

 4   conviction.

 5        17.   Defendant and the USAO agree to the following applicable

 6   Sentencing Guidelines factors:

 7    Base Offense Level:                       7      [U.S.S.G. § 2B1.1(a)(1)]

 8    Loss Between $1.5 Million                     [U.S.S.G. § 2B1.1(b)(1)(I)-
      and $9.5 Million:
 9                                        +16-18                               (J)]

10    More than 10 Victims:                    +2                      [U.S.S.G.
                                                            § 2B1.1(b)(2)(A)(i)]
11
      Use of Means of                          +2                      [U.S.S.G.
12    Identification                                       § 2B1.1(b)(11)(C)(i)]

13
      More than $1 Million from a              +2     [U.S.S.G. § 2B1.1(b)(17)]
14    Financial Institution

15    Acceptance of Responsibility             -3             [U.S.S.G. § 3E1.1]

16

17   The USAO will agree to a two-level downward adjustment for acceptance
18   of responsibility (and, if applicable, move for an additional one-
19   level downward adjustment under U.S.S.G. § 3E1.1(b)) only if the
20   conditions set forth in paragraph 5(c) are met and if defendant has
21   not committed, and refrains from committing, acts constituting
22   obstruction of justice within the meaning of U.S.S.G. § 3C1.1, as
23   discussed below.    Subject to paragraph 31 below, defendant and the
24   USAO agree not to seek, argue, or suggest in any way, either orally
25   or in writing, that any other specific offense characteristics,
26   adjustments, or departures relating to the offense level be imposed,
27   with the exception that (1) defendant agrees the applicable loss is
28   at least greater than $1.5 million, corresponding to an adjustment of
                                          17
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 1   plus-sixteen under U.S.S.G. § 2B1.1(b)(1)(I), while the government

 2   reserves the right to argue—and defendant the right to contest—that

 3   the applicable loss is in fact between $3.5 million and $9.5 million,

 4   corresponding to an adjustment of plus-eighteen under U.S.S.G.

 5   § 2B1.1(b)(1)(J); (2) the government reserves the right to argue for—

 6   and defendant to contest—the applicability of a two-level enhancement

 7   for sophisticated means under U.S.S.G. § 2B1.1(b)(10); (3) defendant

 8   reserves the right to argue—and the government the right to contest—

 9   that departures under U.S.S.G. §§ 5H1.4 and 5H1.6 should apply; and

10   (4) both parties may argue for or contest the applicability of a two-

11   level reduction under U.S.S.G. § 4C1.1(a).        Defendant agrees,

12   however, that if, after signing this agreement but prior to

13   sentencing, defendant were to commit an act, or the USAO were to

14   discover a previously undiscovered act committed by defendant prior

15   to signing this agreement, which act, in the judgment of the USAO,

16   constituted obstruction of justice within the meaning of U.S.S.G.

17   § 3C1.1, the USAO would be free to seek the enhancement set forth in

18   that section and to argue that defendant is not entitled to a

19   downward adjustment for acceptance of responsibility under U.S.S.G.

20   § 3E1.1.

21        18.   Defendant understands that there is no agreement as to

22   defendant’s criminal history or criminal history category.

23        19.   Defendant and the USAO reserve the right to argue for a

24   sentence outside the sentencing range established by the Sentencing

25   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

26   (a)(2), (a)(3), (a)(6), and (a)(7).       However, defendant agrees not to

27   argue, either orally or in writing, for a sentence of less than 12

28   months’ imprisonment.

                                          18
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 1                        WAIVER OF CONSTITUTIONAL RIGHTS

 2        20.   Defendant understands that by pleading guilty, defendant
 3   gives up the following rights:
 4              a.   The right to persist in a plea of not guilty.
 5              b.   The right to a speedy and public trial by jury.
 6              c.   The right to be represented by counsel –- and if
 7   necessary have the Court appoint counsel -- at trial.          Defendant
 8   understands, however, that, defendant retains the right to be
 9   represented by counsel –- and if necessary have the Court appoint
10   counsel –- at every other stage of the proceeding.
11              d.   The right to be presumed innocent and to have the
12   burden of proof placed on the government to prove defendant guilty
13   beyond a reasonable doubt.
14              e.   The right to confront and cross-examine witnesses
15   against defendant.
16              f.   The right to testify and to present evidence in
17   opposition to the charges, including the right to compel the
18   attendance of witnesses to testify.
19              g.   The right not to be compelled to testify, and, if
20   defendant chose not to testify or present evidence, to have that
21   choice not be used against defendant.
22              h.   Any and all rights to pursue any affirmative defenses,
23   Fourth Amendment or Fifth Amendment claims, and other pretrial
24   motions that have been filed or could be filed.
25                         WAIVER OF APPEAL OF CONVICTION
26        21.   Defendant understands that, with the exception of an appeal
27   based on a claim that defendant’s guilty pleas were involuntary, by
28   pleading guilty defendant is waiving and giving up any right to
                                          19
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 1   appeal defendant’s convictions on the offenses to which defendant is

 2   pleading guilty.    Defendant understands that this waiver includes,

 3   but is not limited to, arguments that the statutes to which defendant

 4   is pleading guilty are unconstitutional, and any and all claims that

 5   the statement of facts provided herein is insufficient to support

 6   defendant’s pleas of guilty.

 7                 LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 8        22.   Defendant gives up the right to appeal all of the
 9   following: (a) the procedures and calculations used to determine and
10   impose any portion of the sentence; (b) the term of imprisonment
11   imposed by the Court, including, to the extent permitted by law, the
12   constitutionality or legality of defendant’s sentence, provided it is
13   within the statutory maximum; (c) the fine imposed by the Court,
14   provided it is within the statutory maximum; (d) the amount and terms
15   of any restitution order, provided it requires payment of no more
16   than $2,255,244; (e) the term of probation or supervised release
17   imposed by the Court, provided it is within the statutory maximum;
18   and (f) any of the following conditions of probation or supervised
19   release imposed by the Court: the conditions set forth in Second
20   Amended General Order 20-04 of this Court; the drug testing
21   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); and the
22   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).
23        23.   Defendant also gives up any right to bring a post-
24   conviction collateral attack on the convictions or sentence,
25   including any order of restitution, except a post-conviction
26   collateral attack based on a claim of ineffective assistance of
27   counsel, a claim of newly discovered evidence, or an explicitly
28   retroactive change in the applicable Sentencing Guidelines,
                                          20
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 1   sentencing statutes, or statutes of conviction.         Defendant

 2   understands that this waiver includes, but is not limited to,

 3   arguments that the statutes to which defendant is pleading guilty are

 4   unconstitutional, and any and all claims that the statement of facts

 5   provided herein is insufficient to support defendant’s pleas of

 6   guilty.

 7        24.     This agreement does not affect in any way the right of the

 8   USAO to appeal the sentence imposed by the Court.

 9                       RESULT OF WITHDRAWAL OF GUILTY PLEA

10        25.     Defendant agrees that if, after entering guilty pleas
11   pursuant to this agreement, defendant seeks to withdraw and succeeds
12   in withdrawing defendant’s guilty pleas on any basis other than a
13   claim and finding that entry into this plea agreement was
14   involuntary, then (a) the USAO will be relieved of all of its
15   obligations under this agreement; and (b) should the USAO choose to
16   pursue any charge that was either dismissed or not filed as a result
17   of this agreement, then (i) any applicable statute of limitations
18   will be tolled between the date of defendant’s signing of this
19   agreement and the filing commencing any such action; and
20   (ii) defendant waives and gives up all defenses based on the statute
21   of limitations, any claim of pre-indictment delay, or any speedy
22   trial claim with respect to any such action, except to the extent
23   that such defenses existed as of the date of defendant’s signing this
24   agreement.
25                    RESULT OF VACATUR, REVERSAL OR SET-ASIDE
26        26.     Defendant agrees that if any count of conviction is
27   vacated, reversed, or set aside, the USAO may: (a) ask the Court to
28   resentence defendant on any remaining count of conviction, with both
                                          21
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 1   the USAO and defendant being released from any stipulations regarding

 2   sentencing contained in this agreement, (b) ask the Court to void the

 3   entire plea agreement and vacate defendant’s guilty plea on any

 4   remaining count of conviction, with both the USAO and defendant being

 5   released from all their obligations under this agreement, or

 6   (c) leave defendant’s remaining conviction, sentence, and plea

 7   agreement intact.    Defendant agrees that the choice among these three

 8   options rests in the exclusive discretion of the USAO.

 9                           EFFECTIVE DATE OF AGREEMENT

10        27.   This agreement is effective upon signature and execution of
11   all required certifications by defendant, defendant’s counsel, and an
12   Assistant United States Attorney.
13                               BREACH OF AGREEMENT
14        28.   Defendant agrees that if defendant, at any time after the
15   effective date of this agreement, knowingly violates or fails to
16   perform any of defendant’s obligations under this agreement (“a
17   breach”), the USAO may declare this agreement breached.           All of
18   defendant’s obligations are material, a single breach of this
19   agreement is sufficient for the USAO to declare a breach, and
20   defendant shall not be deemed to have cured a breach without the
21   express agreement of the USAO in writing.        If the USAO declares this
22   agreement breached, and the Court finds such a breach to have
23   occurred, then: (a) if defendant has previously entered guilty pleas
24   pursuant to this agreement, defendant will not be able to withdraw
25   the guilty pleas, and (b) the USAO will be relieved of all its
26   obligations under this agreement.
27        29.   Following the Court’s finding of a knowing breach of this
28   agreement by defendant, should the USAO choose to pursue any charge
                                          22
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 1   that was either dismissed or not filed as a result of this agreement,

 2   then:

 3                 a.   Defendant agrees that any applicable statute of

 4   limitations is tolled between the date of defendant’s signing of this

 5   agreement and the filing commencing any such action.

 6                 b.   Defendant waives and gives up all defenses based on

 7   the statute of limitations, any claim of pre-indictment delay, or any

 8   speedy trial claim with respect to any such action, except to the

 9   extent that such defenses existed as of the date of defendant’s

10   signing this agreement.

11                 c.   Defendant agrees that: (i) any statements made by

12   defendant, under oath, at the guilty plea hearing (if such a hearing

13   occurred prior to the breach); (ii) the agreed to factual basis

14   statement in this agreement; and (iii) any evidence derived from such

15   statements, shall be admissible against defendant in any such action

16   against defendant, and defendant waives and gives up any claim under

17   the United States Constitution, any statute, Rule 410 of the Federal

18   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

19   Procedure, or any other federal rule, that the statements or any

20   evidence derived from the statements should be suppressed or are

21   inadmissible.

22             COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

23                                OFFICE NOT PARTIES
24           30.   Defendant understands that the Court and the United States
25   Probation and Pretrial Services Office are not parties to this
26   agreement and need not accept any of the USAO’s sentencing
27   recommendations or the parties’ agreements to facts or sentencing
28   factors.
                                          23
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 1        31.   Defendant understands that both defendant and the USAO are

 2   free to: (a) supplement the facts by supplying relevant information

 3   to the United States Probation and Pretrial Services Office and the

 4   Court, (b) correct any and all factual misstatements relating to the

 5   Court’s Sentencing Guidelines calculations and determination of

 6   sentence, and (c) argue on appeal and collateral review that the

 7   Court’s Sentencing Guidelines calculations and the sentence it

 8   chooses to impose are not error, although each party agrees to

 9   maintain its view that the calculations in paragraph 17 are

10   consistent with the facts of this case.        While this paragraph permits

11   both the USAO and defendant to submit full and complete factual

12   information to the United States Probation and Pretrial Services

13   Office and the Court, even if that factual information may be viewed

14   as inconsistent with the facts agreed to in this agreement, this

15   paragraph does not affect defendant’s and the USAO’s obligations not

16   to contest the facts agreed to in this agreement.

17        32.   Defendant understands that even if the Court ignores any

18   sentencing recommendation, finds facts or reaches conclusions

19   different from those agreed to, and/or imposes any sentence up to the

20   maximum established by statute, defendant cannot, for that reason,

21   withdraw defendant’s guilty pleas, and defendant will remain bound to

22   fulfill all defendant’s obligations under this agreement.           Defendant

23   understands that no one –- not the prosecutor, defendant’s attorney,

24   or the Court –- can make a binding prediction or promise regarding

25   the sentence defendant will receive, except that it will be within

26   the statutory maximum.

27

28

                                          24
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                                                    3/15/2024
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                                                   3/15/2024
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                      Exhibit A
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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,               CR No.

11             Plaintiff,                    I N F O R M A T I O N

12             v.                            [18 U.S.C. § 1343: Wire Fraud; 18
                                             U.S.C. § 287: False, Fictitious,
13   CASIE HYNES,                            or Fraudulent Claims; 18 U.S.C.
       aka “Casie Little,”                   § 982: Criminal Forfeiture]
14
               Defendant.
15

16        The United States Attorney charges:
17                                     COUNT ONE
18                                [18 U.S.C. § 1343]
19   A.   INTRODUCTORY ALLEGATIONS
20        At times relevant to this Information:
21        Defendant and Relevant Entities
22        1.    Defendant CASIE HYNES, also known as “Casie Little,” was a
23   resident of Los Angeles County.
24        2.    Between October 2020, and August 2021, defendant HYNES
25   incorporated at least six businesses, including Casie Hynes
26   Consulting; Nasty Womxn Project, LLC; Joseph Little Consulting, LLC;
27   She Suite Collective, LLC; and Casie Little, most of which listed
28   defendant HYNES as the organizer and/or chief executive officer
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 1   (“CEO”) of the business and listed one of defendant HYNES’s

 2   residences as the business address.

 3        3.    Between in or around June 2020 and July 2021, defendant

 4   HYNES also obtained and caused to be obtained employer identification

 5   numbers (“EINs”) for at least 24 businesses, including Joseph Little,

 6   Caitlyn Hynes, Casie Little Consulting, College Access Project, Casie

 7   & Joseph Little, Joseph Little Consulting, NW Project, Nasty Womxn

 8   Project, She Suite Collective, SheSuiteCollective, She-Suite

 9   Partners, She Suite Partners, College Club, She Suite Ventures,

10   Madeleine Weber, NW Project CA, JL Education, Casie Hynes RVOC TR

11   04122021, CL Services, CL Education, and Casie Hynes Property TR.

12        The Paycheck Protection Program

13        4.      The United States Small Business Administration (“SBA”)
14   was an executive-branch agency of the United States government that
15   provided support to entrepreneurs and small businesses.           The mission
16   of the SBA was to maintain and strengthen the nation’s economy by
17   enabling the establishment and viability of small businesses and by
18   assisting in the economic recovery of communities after disasters.
19        5.    As part of this effort, the SBA facilitated government-
20   backed loans through banks, credit unions, and other lenders.
21        6.    The Coronavirus Aid, Relief, and Economic Security
22   (“CARES”) Act was a federal law enacted in or about March 2020 that
23   was designed to provide emergency financial assistance to Americans
24   suffering economic harm as a result of the COVID-19 pandemic.            One
25   form of assistance provided by the CARES Act was the authorization of
26   United States taxpayer funds in forgivable loans to small businesses
27   for job retention and certain other expenses, through a program
28   referred to as the Paycheck Protection Program (“PPP”).
                                            2
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 1        7.     To obtain a PPP loan, a qualifying business was required to

 2   submit a PPP loan application, signed by an authorized representative

 3   of the business.    The PPP loan application required the business,

 4   through its authorized representative, to acknowledge the program

 5   rules and make certain affirmative certifications to be eligible to

 6   obtain the PPP loan.     One such certification required the applicant

 7   to affirm that “[t]he [PPP loan] funds w[ould] be used to retain

 8   workers and maintain payroll or make mortgage interest payments,

 9   lease payments, and utility payments.”        The applicant, through its

10   authorized representative, was also required to acknowledge that “I

11   understand that if the funds are used for unauthorized purposes, the

12   federal government may pursue criminal fraud charges.”           In the PPP

13   loan application, the small business, through its authorized

14   representative, was required to state, among other things, its: (a)

15   average monthly payroll expenses; and (b) number of employees.            These

16   figures were used to calculate the amount of money the small business

17   was eligible to receive under the PPP, and a business could not

18   receive a loan of more than 2.5 times its average monthly payroll

19   costs.    In addition, businesses applying for a PPP loan were required

20   to provide documentation showing their payroll expenses.

21        8.     A PPP loan application was processed by a participating

22   financial institution (“lender”).       If a PPP loan application was

23   approved, the participating lender would fund the loan using its own

24   monies, which were guaranteed by the SBA.        Data from the application,

25   including information about the borrower, the total amount of the

26   loan, and the listed number of employees, was transmitted by the

27   lender to the SBA in the course of processing the loan.

28

                                            3
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 1        9.    PPP loan proceeds were required to be used by the business

 2   on certain permissible expenses, including payroll costs, mortgage

 3   interest, rent, and utilities.      Under the applicable PPP rules and

 4   guidance, the interest and principal on the PPP loan was eligible for

 5   forgiveness if the business was eligible for the PPP loan it

 6   received, spent the loan proceeds on these permissible expense items

 7   within a designated period of time, and used a certain portion of the

 8   loan proceeds for payroll expenses.

 9        The Economic Injury Disaster Loan Program

10        10.   The Economic Injury Disaster Loan (“EIDL”) Program was an
11   SBA program that provided low-interest financing to small businesses,
12   renters, and homeowners in regions affected by declared disasters.
13        11.   The CARES Act authorized the SBA to provide EIDLs up to $2
14   million to eligible small businesses experiencing substantial
15   financial disruption due to the COVID-19 pandemic.          In addition, the
16   CARES Act authorized the SBA to issue advances of up to $10,000 to
17   small businesses applying for an EIDL.
18        12.   To obtain an EIDL and an advance, a qualifying business was
19   required to submit an application to the SBA and provide information
20   about its operations, such as the number of employees, gross revenues
21   for the 12-month period preceding the disaster, and cost of goods
22   sold in the 12-month period preceding the disaster.          In the case of
23   EIDLs for COVID-19 relief, the 12-month period extended from January
24   1, 2019, to January 31, 2020.      Applicants certified that all the
25   information in the application was true and correct to the best of
26   their knowledge.
27        13.   EIDL applications were submitted directly to the SBA and
28   processed by the agency with support from a government contractor.
                                            4
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 1   The amount of the loan was determined, in part, on the information

 2   provided by the applicant about employment, revenue, and cost of

 3   goods, as described above.

 4        14.   Any funds issued under an EIDL or advance were issued

 5   directly by the SBA.     EIDL funds could be used for payroll expenses,

 6   sick leave, production costs, and business obligations, such as

 7   debts, rent, and mortgage payments.        Borrowers, as a part of the EIDL

 8   loan application, certified that they would use loan proceeds “solely

 9   as working capital to alleviate economic injury caused by disaster

10   occurring in the month of January 31, 2020, and continuing

11   thereafter.”    If the applicant also obtained a loan under the PPP,

12   the EIDL loan funds could not be used for the same purpose as the PPP

13   loan funds.

14   B.   THE SCHEME TO DEFRAUD

15        15.   Beginning no later than in or around June 2020, and
16   continuing until at least in or around December 2021, in Los Angeles
17   County, within the Central District of California, and elsewhere,
18   defendant HYNES, knowingly and with intent to defraud, devised,
19   intended to devise, and participated in a scheme to defraud lenders
20   and the SBA, and to obtain money and property from the lenders and
21   the SBA by means of material false pretenses, representations, and
22   promises, and the concealment of material facts.
23        16.   The fraudulent scheme operated and was carried out, in
24   substance, as follows:
25              a.    Defendant HYNES incorporated and/or obtained EINs for
26   a variety of businesses (collectively, the “HYNES Companies”).
27              b.    Defendant HYNES applied for PPP and EIDL loans on
28   behalf of the Hynes Companies.      In those applications, defendant
                                            5
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 1   HYNES made false statements to lenders and the SBA, including false

 2   representations regarding the number of employees to whom the

 3   companies had paid wages and the amount of those purported wages, and

 4   false certifications that the loans would be used for permissible

 5   business purposes.    In some instances, and in order to conceal her

 6   involvement with the loans and make the companies seem more

 7   legitimate, defendant HYNES applied for the loans using the names and

 8   personal information of real persons as purported officers or

 9   employees of the businesses, knowing that those persons did not hold

10   those roles and had not authorized defendant HYNES to use their names

11   and information in connection with the applications.

12               c.    In connection with those applications, defendant HYNES

13   also electronically submitted, and cause to be submitted, false

14   documents to lenders in support of the fraudulent PPP and EIDL loan

15   applications, including false and fictitious bank and tax documents,

16   and documents bearing the forged signatures of real persons.

17               d.    At the time of these applications, defendant HYNES

18   knew that the representations regarding the numbers of employees and

19   purported wages paid and intended use of the loan proceeds were

20   false, the bank and tax documents were fabricated, and the signatures

21   were forged.     In making these false representations and submitting

22   these fabricated documents, defendant HYNES knew and intended that

23   the lenders would rely on them to approve the applications and

24   determine the amounts to be disbursed under the PPP and EIDL

25   programs.

26               e.    Defendant HYNES directed that PPP and EIDL loan

27   proceeds be deposited into bank accounts that defendant HYNES

28   controlled.

                                            6
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 1               f.   Defendant HYNES then used the fraudulently obtained

 2   PPP and EIDL loan proceeds for her own personal benefit, including

 3   for expenses prohibited under the requirements of the PPP and EIDL

 4   programs.

 5        17.    Between June 2020 and June 2021, defendant HYNES submitted

 6   and caused to be submitted approximately 23 fraudulent PPP loan

 7   applications to various federally insured financial institutions and

 8   approximately 63 fraudulent EIDL applications to the SBA on behalf of

 9   the HYNES Companies seeking a total of approximately $3,174,323 in

10   PPP and EIDL funds, and actually received approximately $2,255,244 in

11   fraudulent proceeds from those loans based on the false and

12   fraudulent statements, representations, and promises in the

13   applications.

14   C.   USE OF THE WIRES

15        18.    On or about April 14, 2021, in Los Angeles, within the
16   Central District of California, and elsewhere, defendant HYNES, for
17   the purpose of executing the above-described scheme to defraud,
18   transmitted and caused the transmission of, by means of wire
19   communications in interstate commerce, a PPP loan application in the
20   name of JL Education from California, to American Lending Center via
21   a server outside the State of California.
22

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 1                                     COUNT TWO

 2                             [18 U.S.C. §§ 287, 2(b)]

 3        19.   The Grand Jury re-alleges paragraphs 1 through 3 of this

 4   Information here.

 5   A.   INTRODUCTORY ALLEGATIONS

 6        At times relevant to this Information:
 7        The CARES Act and Coronavirus Response Credits
 8        20.   The Internal Revenue Service (“IRS”) was an agency of the
 9   United States responsible for collecting taxes and administering the
10   Internal Revenue Code.
11        21.   The CARES Act authorized an employee retention tax credit
12   (the “ERC”) that a small business could use to reduce the employment
13   tax it owed to the IRS.     To qualify, the business had to have been
14   operational in 2020 and to have experienced (1) at least a partial
15   suspension of the business’s operations because of a government
16   COVID-19 order (e.g., an order limiting commerce, group meetings, or
17   travel) or (2) a significant decline in profits.          The ERC equaled a
18   percentage of the wages that the business paid to its employees
19   during the quarter, subject to a maximum amount.
20        22.   The Families First Coronavirus Response Act (“Coronavirus
21   Response Act”) and its amendments authorized the IRS to give a credit
22   against employment taxes to reimburse businesses for the wages paid
23   to employees who were on sick or family leave and could not work
24   because of COVID-19 (the “paid sick and family leave credit,” and,
25   collectively with the ERC, the “COVID-19 Tax Credits”).           The paid
26   sick and family leave credit equaled the wages the business paid to
27   employees during the sick or family leave, subject to a maximum
28   amount.
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 1        23.   The taxpayer could request the COVID-19 Tax Credits on the

 2   IRS Form 941 (Employer’s Quarterly Federal Tax Return) (“Form 941”)

 3   and was required to truthfully state, among other things, the number

 4   of employees and business’s quarterly wages.         The COVID-19 Tax

 5   Credits could generate refunds, and the taxpayer could request that

 6   the IRS pay the refunds in advance, before the business filed its

 7   quarterly employment tax return, through the filing of an IRS Form

 8   7200 (Advance Payment of Employer Credits Due to COVID-19) (“Form

 9   7200”).

10        24.   Federal Tax Deposits (“FTDs”), among other things,

11   consisted of employment taxes, including taxes that were withheld

12   from employees’ wages.     Certain employers were required to make

13   periodic FTDs to the IRS, normally on a monthly or semiweekly basis.

14   On the IRS Form 941, the employer could then deduct the FTDs paid to

15   the IRS for the applicable quarter from the total amount of

16   employment taxes due to the IRS.

17        She Suite Ventures

18        25.   In or around January 2021, defendant HYNES obtained an EIN
19   on behalf of a business called She Suite Ventures.
20        26.   For tax years 2020 through 2021, She Suite Ventures had no
21   substantial business operations and IRS records reflect neither (i)
22   the issuance of any Forms W-2, Forms 1099, or other wage reporting
23   forms to any individuals, nor (ii) the payment of any FTDs to the IRS
24   on She Suite Ventures’ behalf.
25   B.   THE FALSE CLAIMS
26        27.   On or about July 13, 2021, in Los Angeles County, within
27   the Central District of California, and elsewhere, defendant HYNES
28   made and presented, and willfully caused to be made and presented, to
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 1   the IRS, which is part of the United States Department of the

 2   Treasury, a false, fictitious, and fraudulent claim against the

 3   United States for the payment of a tax refund – namely, a Form 7200

 4   filed on behalf of She Suite Ventures for the fourth quarter of 2021,

 5   requesting approximately $195,911.41 as an advance payment of COVID-

 6   19 Tax Credits – which claim defendant HYNES then knew to be false,

 7   fictitious, and fraudulent in that She Suite Ventures was not

 8   entitled to the claimed advance payment as reported on the return,

 9   including because She Suite Ventures did not have the number of

10   employees claimed on the return and had not paid employees the amount

11   in wages, tips, and other compensation reported on that return.

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 1                              FORFEITURE ALLEGATION

 2                                 [18 U.S.C. § 982]
 3        1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal
 4   Procedure, notice is hereby given that the United States of America
 5   will seek forfeiture as part of any sentence, pursuant to Title 18,
 6   United States Code, Section 982(a)(2), in the event of the
 7   defendant’s conviction of the offense set forth in Count One of this
 8   Indictment.
 9        2.    The defendant, if so convicted, shall forfeit to the United
10   States of America the following:
11              (a) All right, title and interest in any and all property,
12   real or personal, constituting, or derived from, any proceeds
13   obtained, directly or indirectly, as a result of the offense,
14   including but not limited to $120,925.10 seized on or about May 24,
15   2023, from Bluevine checking account ending in 5915, held in the name
16   of Joseph Little Consulting, Joseph Little; and
17              (b) To the extent such property is not available for
18   forfeiture, a sum of money equal to the total value of the property
19   described in subparagraph (a).
20        3. Pursuant to Title 21, United States Code, Section 853(p), as
21   incorporated by Title 18, United States Code, Section 982(b), the
22   defendant, if so convicted, shall forfeit substitute property, up to
23   the total value of the property described in the preceding paragraph
24   if, as the result of any act or omission of the defendant, the
25   property described in the preceding paragraph, or any portion
26   thereof: (a) cannot be located upon the exercise of due diligence;
27   (b) has been transferred, sold to or deposited with a third party;
28   (c) has been placed beyond the jurisdiction of the court; (d) has
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 1   been substantially diminished in value; or (e) has been commingled

 2   with other property that cannot be divided without difficulty.

 3

 4                                          E. MARTIN ESTRADA
                                            United States Attorney
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 7                                          MACK E. JENKINS
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 8                                          Chief, Criminal Division
 9                                          RANEE A. KATZENSTEIN
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10                                          Chief, Major Frauds Section
11                                          KRISTEN A. WILLIAMS
                                            Assistant United States Attorney
12                                          Deputy Chief, Major Frauds Section
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